
Beer, J.
It will be observed that the relator asks that the justice be compelled to sign — not a true bill of exceptions — but the bill which he refused to sign, and which, he says, is not a true bill of exceptions. The alternative writ commanded him to sign the bill which the relator presented for allowance. Under the circumstances, should a peremptory writ issué ?
*248It is claimed by the relator that the answer of the justice is insufficient. That he is bound to allow and sign a bill of exceptions if one be tendered within time. That if it is not correct the justice must correct it, or point out wherein it is incorrect, so that party presenting it may correct it if he desires to do so.
Sec. 6610, R. S., provides that in actions for forcible entry and detention, either party may except to opinions of the justice on questions of law and evidence. Sec. 6565 provides that, “ in all cases before a justice, either party shall have the right to except to opinions of the justice upon any question of law arising during the trial of the cause, and whenever either party shall allege such exceptions, it shall be the duty of the justice to sign and seal a bill containing such exceptions, if truly alleged., with the point decided, so that the same may be made a part of the record in the cause.”
Sec. 594 provides that exceptions to the ruling of the jus-, sice on questions of law must be entered by him in his docket. It is urged that because sec. 6610 provides that either party may except to the opinion of the justice on questions of law and evidence in actions for forcible entry and detention, and is silent as to how the party shall procure and preserve his exceptions; that, therefore, sec, 5302, and not sec. 6565, provides the mode by which the bill of exceptions shall be allowed and signed, and sec. 5802 provides that the bill shall be corrected if not true. Sec. 6705 reads : “ The provisions of title one, part third, of the Revised Statutes, which are in their nature applicable to the proceedings before justices, and in respect of which no special provision is made in this title, are applicable to proceedings before justices of the peace.”
But “ special provision is made in the title ” for the allowance of bills of exceptions in trials before justices of the peace. Sec. 6565 provides that “ in all cases before a justice, either party shall have the right to except and to have his bill of exceptions signed and sealed if the exceptions “ be truly alleged.” All cases, includes actions for forcible entry and detention. A majority of the court conclude that the defendant was not bound to sign a bill of exceptions wherein the exceptions were not truly alleged, and that he was not bound to correct such bill, and then sign and seal it. “ The justice is not re*249quired to prepare bills of exceptions, and he is not bound to sign a bill unless it is correctly made out.” Swan’s Tr. 189.
We are not asked to compel the defendant to correct and sign a bill of exceptions, but we are asked to compel him to sign the hill, which he says is not true. The power of determining whether the particular bill of exceptions tendered is true or not, rests exclusively with the court or judge before whom the cause was tried, and to whom the writ is directed, and the exercise of this power is beyond control by mandamus; State v. Todd, 4 O. 351; 40 Ill. 96; 91 Ill. 87; 13 Wise, 380; 51 Vt. 570; 12 Kan. 616; High on Man., § 202. So when the answer shows that the defendant is willing to sign a true bill, but alleges that the bill as presented is not true, the peremptory writ will be refused, since the right to determine the truth of the bill rests exclusively with the judicial officer before whom the cause was tried. 22 O. S. 207. High of Man., § 202.
But if we are in error in the foregoing, a majority of the court are of the opinion that the peremptory writ should not issue for the further reason, that the writ will not be granted unless the petition alleges facts sufficient to show that the officer against whom the writ is prayed, has omitted a manifest duty. It must contain not only the affirmative allegations of proceedings necessary to entitle the party to the process prayed for, but it must also be averred that other facts which would justify the omission complained of, do not exist. 25 Me. 333; Moses on Man. 19. The facts which go to constitute the duty, the omission to perform the duty, that the omission is without excuse, that the relator is clearly entitled to do performance, that he will be prejudiced by its non performance, and that he has no other adequate remedy, must be plead distinctlv and issuably; High on Man, §§ 10, 12, 536, 537 ; 7 East 345; 12 Ill. 254; 9 Neb. 92 ; 22 Ohio St. 371; 15 Barb. 607.
A justice will not be compelled to sign even a true bill of . exceptions if to do so would be a vain thing. If the case was tried to a jury, with numerous exceptions taken during the trial, yet if the jury disagreed, of what avail would a bill of exceptions be to either party? So if the justice failed to enter judgment, what would either plaintiff or defendant do with a *250bill of exceptions? In the case before us, there is no averment in the petition that the jury returned a verdict, or that the justice rendered a judgment. True, the petition states that the relator excepted to the action of the justice in overruling his motion for a new trial; but that statement is no averment of a verdict or judgment against him. With no verdict or judgment against the relator, he is not prejudiced by the act of the justice of which he complains. A majority of the court are of the opinion that the petition is insufficient, and the writ will, therefore, be refused.
A. Zugschwert, for relator.

John Sheridan, contra.

Moore, J., concurred, Seney, J., dissented.
